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                             STATEMENT OF FACTS

       Your affiant, Daniel Dales is a Special Agent (SA) with the Federal Bureau of
Investigation (FBI), and has been so employed since July 2017. I am currently assigned
to the Los Angeles Field Office’s Long Beach Resident Agency Joint Terrorism Task
Force (JTTF). My duties at the JTTF include investigating violations of the laws of
the United States, specifically investigations related to domestic and foreign terrorism.

       Currently, I am a tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal law.

       The U.S. Capitol is secured twenty-four hours a day by U.S. Capitol Police
(USCP). Restrictions around the Capitol include permanent and temporary security
barriers and posts manned by USCP. Only authorized people with appropriate
identification are allowed access inside the Capitol. On January 6, 2021, the exterior
plaza of the Capitol was also closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at
the Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United
States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place
on Tuesday, November 3, 2020. The joint session began at approximately 1:00 PM.
Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside
the Capitol. As noted above, temporary barricades and permanent barricades were in
place around the exterior of the Capitol. USCP were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the
USCP attempted to maintain order and to keep the crowd from entering the Capitol.
However, around 2:00 PM, individuals in the crowd forced entry into the Capitol.
Some members of the crowd gained access and entry to the Capitol by breaking
windows and assaulting members of the USCP. Others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of the United States Congress was effectively suspended until shortly after 8:00
PM. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage
which appeared to be captured on mobile devices of persons present on the scene
depicted evidence of violations of local and federal law, including scores of individuals
inside the Capitol without authority to be there. One of the individuals who was inside
the Capitol without authority to be there has been identified as Lois Lynn McNicoll.

       On or about January 8, 2021, an FBI tipster (Witness 1) provided the screenshot
pictured below to the FBI via the national tip submission site. The screenshot appears
to be a social media post from ABC7 showing a white female wearing a white hat that
has the name TRUMP in dark letters. The female is also pictured wearing a white and
gray jacket with a red and white flag draped over her shoulders. The caption on the
post states: Trump supporters exit the U.S. Capitol Building.




IMAGE 1: A screenshot provided by Witness 1 of a social media posting from ABC7 NEWS, showing a white female wearing
a white hat that has the name TRUMP in dark letters. The female is also pictured wearing a white and gray jacket with a
red and white flag draped over her shoulders.
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       The defendant and Witness 1 are both employees of the Los Angeles County
Department of Public Social Services (DPSS). As such, Witness 1 has personal
knowledge of McNicoll’s appearance. In their tip, Witness 1 identified the previously
described female in IMAGE 1 as the defendant—Lois McNicoll. Witness 1 further
identified the defendant as a fellow Los Angeles County DPSS employee. On or about
May 7, 2021, your affiant interviewed Witness 1 who confirmed their relationship to
and identification of the defendant.

       On or about February 2, 2021 another tipster (Witness 2) sent the above
screenshot to the FBI. Witness 2 also identified the female as Lois McNicoll, an
employee of Los Angeles County DPSS. Your affiant interviewed Witness 2 on May
10, 2021. Witness 2 is also a fellow Los Angeles County DPSS employee who has
personal knowledge of McNicoll’s appearance. During the interview, they confirmed
that the previously described individual in IMAGE 1 is the defendant.

       On or about April 5, 2021, law enforcement acquired California Department of
Motor Vehicles (DMV) records for Lois Lynn McNicoll, with a date of birth in 1952.
The California DMV provided a driver’s license for McNicoll with a listed address of
San Clemente, California.1 Your affiant reviewed McNicoll’s California driver’s
license photograph (not pictured) and found that McNicoll’s appearance in the DMV
photo appeared to be consistent with the individual pictured in IMAGE 1.

       On May 14, 2021, your affiant reviewed recordings from the Capitol’s CCTV
surveillance video recorded on January 6, 2021. Video from a camera near an area
known as the Senate Wing Door showed a large group of people entering the Capitol
through a door and windows that other individuals had broken open. At
approximately 2:55 PM Eastern Standard Time (EST) the video shows the
defendant—dressed the same as in IMAGE 1—entering the building and standing near
the doorway. In the video, the defendant appears to take pictures or video with a
cellphone she removes from inside of her coat.




1
 The full address and date of birth was provided in the DMV records but is not included here as this document
will be publicly filed.
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IMAGES 2, 3, 4: Screenshots from Capitol CCTV showing the defendant just after she entered the Capitol via the Senate
Wing Door at approximately 2:55 PM. At one point, the defendant takes what appears to be a cellphone out from her jacket
and moves it around in a manner consistent with recording videos and taking pictures.
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       Additional CCTV video shows that the red and white flag draped across
McNicoll’s shoulders appears to be a variant of California’s state flag—The Bear
Flag—where the words CALIFORNIA REPUBLIC have been replaced by the words
TRUMP COUNTRY. After putting her phone away, the defendant walked down a
hallway leading south towards the Capitol Crypt. The defendant stopped and observed
the crowd before continuing. CCTV from the Capitol Crypt further shows the
defendant walking through the Crypt at approximately 3:32 PM. Law enforcement
officers then ushered the defendant and all others out of the Capitol via doors leading
out to the southeast plaza, also known as the Memorial Doors.




IMAGES 5, 6, 7: (top left) Screenshots from Capitol CCTV showing the defendant with a modified Bear Flag draped around
her shoulders, walking south towards the Capitol Crypt; (top right) an individual that appears to be the defendant walking
through the Capitol Crypt; and (bottom) an individual that appears to be the defendant walking through the Capitol Crypt.
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IMAGES 8, 9: (left) Screenshots from Capitol CCTV showing the defendant walking east past a statue of Winston Churchill
towards the Memorial Doors; and (right) the defendant walking towards the Memorial Doors.




IMAGES 1, 10: (left) IMAGE 1 (see above); and (right) a screenshot from the Capitol’s CCTV showing the defendant at
approximately the same location at approximately the same time—3:33 PM—as IMAGE 1.
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IMAGES 11, 12: (top) A screenshot from an open source video posted to Twitter (https://twitter.com/mattmiller757/
status/1346944869588230144) showing the defendant and others leaving the Capitol through the Memorial Doors; and
(bottom) a screenshot from Capitol CCTV showing the defendant walking out the Memorial Doors at approximately the same
location at approximately the same time as IMAGE 11.
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       On May 18, 2021, your affiant interviewed the defendant at her place of
employment in a non-custodial capacity. The defendant was informed that any
participation was voluntary and that she was free to terminate the interview at any
time. The defendant affirmed that she understood.

        The defendant stated in sum and substance that she learned via YouTube that
former President Trump (Trump) would be speaking in Washington D.C. (D.C.) on
January 6, 2021. The defendant further stated that accordingly, she traveled from
California to D.C. on January 2 or 3, 2021, to be able to attend his speech. On January
4 and 5, 2021, she walked around D.C. sightseeing. On those days, she visited the
Capitol building, but did not get close to the building because of the barriers around
the Capitol. The defendant specifically stated that she recalled the barriers that
restricted access to the Capitol.

       On January 6, 2021, the defendant attended Trump’s speech and stayed for its
entirety. She then marched to the Capitol with a large group, walking up the stairs of
the Capitol building and entering through doors that had already been forced open.
The defendant claimed that at that point, she was somewhat unaware of what was
going on around her. The defendant further stated that she recalled walking around an
area she referred to as “the Rotunda.”2

       During the interview, the defendant denied taking any photos or video while
inside the Capitol. The defendant further claimed that her phone was inside of her
purse, which was inside of her jacket, neither of which she ever removed. This claim
is inconsistent with what Capitol CCTV shows as depicted in this document as
IMAGES 3 and 4.

       At some point while she was in the Capitol, the defendant heard someone say
that a person had been shot, that the National Guard was being called in, and that
there would be a curfew in place. At this time, the defendant states that she decided to
leave the Capitol and return to her hotel.

       When asked if she had ever been to the Capitol before, the defendant told your
affiant that she visited once previously, approximately five years earlier. The defendant
recalled that she was required to set up the visit to the Capitol through her state
representative, and that the representative had to issue a visitor credential before she
could enter the Capitol. On the date of her prior visit to the Capitol, the defendant also
remembered going through metal detectors before being allowed to enter. The
defendant admitted that she did not go through these same security measures on

2
 The defendant was likely referring to the Capitol Crypt as there is no indication that the defendant entered the
actual Rotunda of the Capitol.
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January 6, 2021. Be that as it may, the defendant claimed that she did not feel that she
was doing anything wrong when she entered the Capitol on January 6, 2021.

      Your affiant showed the defendant a copy of IMAGE 1, the screenshot from
ABC7’s post on social media. The defendant—Lois Lynn McNicoll—identified the
person pictured in IMAGE 1 as herself.

       Based on the foregoing, your affiant submits that there is probable cause to
believe that Lois Lynn McNicoll violated 18 U.S.C. §§ 1752(a)(1) and (2), which make
it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt
the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or
grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly
conduct of Government business or official functions; or attempts or conspires to do
so. For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President
or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

       Your affiant further submits there is also probable cause to believe that Lois
Lynn McNicoll violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime
to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage
in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                               _________________________________
                                               Special Agent Daniel Dales
                                               Federal Bureau of Investigation

      Attested to by the applicant in accordance with the requirements of Fed. R.
Crim. P. 4.1 by telephone, this 23rd day of June 2021.

                                                                2021.06.23
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                                               ROBIN M. MERIWEATHER
                                               U.S. MAGISTRATE JUDGE
